 

Case 4:20-cv-03411 Document 14-8 Filed on 11/30/21 in TXSD Page 1 of 34

Sensitive but Unclassified (SBU) Information

 

 

STORE NAME AND ADDRESS

ZS FOOD MART

3719 LOCKWOOD

HOUSTON, TX 77026

 

 

USDA - FNS
REPORT OF NEGATIVE INVESTIGATION
CASE IDENTIFICATION NUMBER DATE
HO01974 4/16/2018
AREA OFFICE

Houston, TX - RIB

 

 

A. During the subject investigation 0 Confidential Informant(s) 1 Investigator(s) made a
totalof 3  visit(s) to the subject store. During these transactions, attempts made to purchase
ineligible items were refused, and no other program violations occurred.

 

Number of Surveillance Visit(s) 0

Number of Client Interview(s) 0

 

 

 

 

 

 

 

 

 

 

 

 

Exhibit ID |Pass Result |Refusal Date |Cl/Investigator |Refusals Description of Clerk

A F 2/28/2018 Investigator M, 50-55 yrs, 5'6"-5'9", 195-205 Ibs, Brown hair
color, Clerk was standing behind a plexiglass
enclosure. Clerk had a mustache and goatee.

B N 3/6/2018 Investigator 18 count pack of Kordite Plastic |M, 50-55 yrs, 5'6"-5'9", 195-205 ibs, Brown hair

Cups color, Clerk same as Exhibit A

Cc N 3/12/2018 Investigator Roll of Soft Bathroom Tissue M, 50-55 yrs, 5'6"-5'9", 195-205 Ibs, Brown hair
color, Clerk same as Exhibit A

B. REMARKS

C. In the absence of indications that the subject store violates program regulations the investigation
was terminated and the case is closed.

CERTIFICATION:

This report consists of 3 exhibit(s) letter(s) A to C totaling 7 page(s). The facts stated in this declaration are true to
my knowledge. If | am called to testify as a witness in any proceeding, | am competent to testify to the matters
stated herein. Further declarant sayeth not. | declare under penalty of perjury the foregoing is true and correct.

 

SIGNATURE OF INVESTIGATOR

 

 

*Redacted - MATERIAL DELETED PURSUANT TO 5 U.S.C SECTION 552(b) (6) and 552(b) (7) (C).
FORM FNS-413 (PAGE 1 OF 7) - (7-98) PREVIOUS EDITIONS OBSOLETE.

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US DEPARTMENT OF AGRICULTURE - FOOD AND NUTRITION SERVICE

 

 

 

HO01974 EXHIBIT A
INVESTIGATIVE TRANSACTION REPORT 02/28/2018 RESULT: F

 

 

 

 

 

DETAILS OF TRANSACTION/VISIT ;

a, Investigator, Food and Nutrition Service, United States Department of Agriculture, make the
following statement freely and voluntarily, knowing that this statement may be used in evidence.

On the above date, at about (time) 1:34 PM. | entered subject store. As the clerk rang up the items, my issued
Electronic Benefits Transfer (EBT) card was where it could be viewed by the clerk. | gave the clerk the EBT card,
which had a total of $299.12 in Supplemental Nutrition Assistance Program (SNAP) benefits. The clerk deducted
$4.77 for items purchased from the investigative EBT account. | departed the store at about 1:39 PM.

| placed the listed food items on the counter along with my issued EBT card. The clerk who was standing behind

a plexiglass enclosure rang up the listed items charging them to my EBT card. The clerk provided me with an
EBT receipt, made no comments and | left the store.

“Redacted - MATERIAL DELETED PURSUANT TO 5 U.S.C SECTION 552(b) (6) and 552(b) (7) (C).
FORM FNS-413 (PAGE 2 OF 7) - (7-98) PREVIOUS EDITIONS OBSOLETE.

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US DEPARTMENT OF AGRICULTURE - FOOD AND NUTRITION SERVICE

 

 

 

INVESTIGATIVE TRANSACTION REPORT

HO01974
02/28/2018

 

 

EXHIBIT A
RESULT: F

 

 

 

CLERK INFORMATION

 

SEX | AGE

HEIGHT WEIGHT

HAIR

OTHER IDENTIFIERS

 

M 50-55

 

5'6"-5'9" | 195-205

 

 

Brown

 

 

Clerk was standing behind a plexiglass enclosure. Clerk hada
mustache and goatee.

 

 

identification During Transaction as: (Name)

 

(Title, Relationship to Owner):

 

Means of Identification:

 

 

Unknown Unknown N/A

EBT BENEFITS ISSUED, USED AND RETURNED:
Issued Value Used Value Returned Value
$299.12 $4.77 $294.35

 

 

 

 

 

 

 

 

[EBT RECEIPT: Y |CASHREGISTER RECEIPT: N | SALES TAXCHARGED: N/A _| AMOUNT CHARGED: N/A

 

AMOUNT OF PURCHASE [if known]

BENEFITS TRAFFICKED [if applicable]

CASH RECEIVED [if applicable]

 

 

$4.77

 

N/A

N/A

 

 

 

MERCHANDISE RECEIVED [if applicable]:

 

 

 

 

 

 

 

 

 

QUANTITY DESCRIPTION OF ITEM TYPE PRICE
1 20 OZ. bottie of soda E NPI
1 3 3/8 OZ. bag of Cheetos Puffs Cheese Flavored Snacks E 1.69
1 1.74 OZ. bag of M & M's Chocolate Candies E NPI

 

NPI - NO PRICE INDICATED OR ILLEGIBLE

TYPE:

E - ELIGIBLE, | - INELIGIBLE, M- MAJOR INELIGIBLE, R - REFUSAL, C - CREDIT, F - FREE / NO CHARGE

 

 

TRAFFICKING CASH DATA [if applicable]:

 

“Redacted - MATERIAL DELETED PURSUANT TO 5 U.S.C SECTION 552(b) (6) and 552(b) (7) (C).
FORM FNS-413 (PAGE 3 OF 7) - (7-98) PREVIOUS EDITIONS OBSOLETE.

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US DEPARTMENT OF AGRICULTURE - FOOD AND NUTRITION SERVICE

 

 

 

HO01974 EXHIBIT B
INVESTIGATIVE TRANSACTION REPORT 03/06/2018 RESULT: N

 

 

 

 

DETAILS OF TRANSACTION/VISIT :

RE 5. esticator, Food and Nutrition Service, United States Department of Agriculture, make the
following statement freely and voluntarily, knowing that this statement may be used in evidence.

On the above date, at about (time) 11:24 AM. | entered subject store. As the clerk rang up the items, my issued
Electronic Benefits Transfer (EBT) card was where it could be viewed by the clerk. | gave the clerk the EBT card,
which had a total of $230.61 in Supplemental Nutrition Assistance Program (SNAP) benefits. The clerk deducted
$4.59 for items purchased from the investigative EBT account. | departed the store at about 11:29 AM.

| placed the listed food items and the non-food item on the counter along with my issued EBT card. The clerk
who was standing behind a plexiglass enclosure rang up the listed food items charging them to my EBT card, but
refused to charge the non-food item to my EBT card. The clerk returned my EBT card and provided me with an
EBT receipt. The clerk made no further comments and | left the store.

*Redacted - MATERIAL DELETED PURSUANT TO 5 U.S.C SECTION 552(b) (6) and 552(b) (7) (C).
FORM FNS-413 (PAGE 4 OF 7) - (7-98) PREVIOUS EDITIONS OBSOLETE.

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US DEPARTMENT OF AGRICULTURE - FOOD AND NUTRITION SERVICE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

HOO01974 EXHIBIT B
INVESTIGATIVE TRANSACTION REPORT 03/06/2018 RESULT: N
CLERK INFORMATION
SEX | AGE HEIGHT WEIGHT | HAIR OTHER IDENTIFIERS
M 50-55 5'6"-5'9" | 195-205 | Brown Clerk same as Exhibit A
Identification During Transaction as: (Name) (Title, Relationship to Owner): Means of Identification:
Unknown Unknown N/A

 

 

 

 

EBT BENEFITS ISSUED, USED AND RETURNED:

 

 

EBT Card Number Issued Value Used Value Returned Value
$230.61 $4.59 $226.02

 

 

 

 

 

 

 

 

[EBTRECEIPT: Y |CASHREGISTER RECEIPT: N | SALES TAXCHARGED: N/A _| AMOUNT CHARGED: N/A |

 

AMOUNT OF PURCHASE [if known] | BENEFITS TRAFFICKED [if applicable] | CASH RECEIVED [if applicable]
$4.59 N/A N/A

 

 

 

 

 

MERCHANDISE RECEIVED [if applicable]:

 

 

 

 

 

 

 

 

 

QUANTITY DESCRIPTION OF ITEM TYPE PRICE
1 4 1/2 OZ. bag of Chester's Puffcom Cheese Flavored Snacks E 2.00
1 2 liter bottle of soda E NPI
1 18 count pack of Kordite Plastic Cups R
NPI - NO PRICE INDICATED OR ILLEGIBLE TYPE: €-ELIGIBLE, | - INELIGIBLE, M - MAJOR INELIGIBLE, R - REFUSAL, C - CREDIT, F - FREE / NO CHARGE

 

TRAFFICKING CASH DATA [if applicable]:

 

 

*Redacted - MATERIAL DELETED PURSUANT TO 5 U.S.C SECTION 552(b) (6) and 552(b) (7) (C).
FORM FNS-413 (PAGE 5 OF 7) - (7-98) PREVIOUS EDITIONS OBSOLETE.

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US DEPARTMENT OF AGRICULTURE - FOOD AND NUTRITION SERVICE

 

 

 

HO01974 Ss [EXHIBIT C
INVESTIGATIVE TRANSACTION REPORT os20018._ IRESULT:N

 

 

 

 

 

 

DETAILS OF TRANSACTION/VISIT :

Investigator, Food and Nutrition Service, United States Department of Agriculture, make the
following statement freely and voluntarily, knowing that this statement may be used in evidence.

On the above date, at about (time) 11:38 AM. | entered subject store. As the clerk rang up the items, my issued
Electronic Benefits Transfer (EBT) card was where it could be viewed by the clerk. | gave the clerk the EBT card,
which had a total of $160.05 in Supplemental Nutrition Assistance Program (SNAP) benefits. The clerk deducted
$5.78 for items purchased from the investigative EBT account. | departed the store at about 11:42 AM.

| placed the listed food items and the non-food item on the counter along with my issued EBT card. The clerk
who was standing behind a plexiglass enclosure rang up the mentioned food items charging them to my EBT
card, but refused to charge the non-food item to my EBT card. The clerk returned my EBT card and provided me
with an EBT receipt for the purchased food items. The clerk made no further comments and | left the store.

“Redacted - MATERIAL DELETED PURSUANT TO 5 U.S.C SECTION 552(b) (6) and 552(b) (7) (C).
FORM FNS-413 (PAGE 6 OF 7) - (7-98) PREVIOUS EDITIONS OBSOLETE.

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US DEPARTMENT OF AGRICULTURE - FOOD AND NUTRITION SERVICE

 

 

 

 

 

 

 

 

 

 

HO01974 EXHIBIT C
INVESTIGATIVE TRANSACTION REPORT 03/12/2018 RESULT: N
CLERK INFORMATION
SEX | AGE HEIGHT WEIGHT | HAIR OTHER IDENTIFIERS
M 50-55 5'6"-5'9" | 195-205 | Brown Clerk same as Exhibit A

 

 

 

 

 

 

identification During Transaction as: (Name)

 

(Title, Relationship to Owner):

 

Means of Identification:

 

 

 

 

Unknown Unknown N/A

EBT BENEFITS ISSUED, USED AND R. ED:

EBT Card Number Issued Value Used Value Returned Value
$160.05 $5.78 $154.27

 

 

 

 

 

 

[EBTRECEIPT: Y |CASHREGISTER RECEIPT: N | SALES TAXCHARGED: N/A _| AMOUNT CHARGED: N/A

 

_

 

AMOUNT OF PURCHASE [if known]

BENEFITS TRAFFICKED [if applicable]

CASH RECEIVED [if applicable]

 

$5.78

 

N/A

 

N/A

 

 

MERCHANDISE RECEIVED [if applicable]:

 

 

 

 

 

 

 

QUANTITY DESCRIPTION OF ITEM TYPE PRICE
1 20 OZ. bottle of soda E NPI
1 13 OZ. pack of Nabisco Chips Ahoy Cookies E NPI
1 Roll of Soft Bathroom Tissue R

 

 

NPi - NO PRICE INDICATED OR ILLEGIBLE

TYPE: E- ELIGIBLE, | - INELIGIBLE, M - MAJOR INELIGIBLE, R - REFUSAL, C - CREDIT, F - FREE / NO CHARGE

 

 

TRAFFICKING CASH DATA [if applicable]:

 

“Redacted - MATERIAL DELETED PURSUANT TO 5 U.S.C SECTION 552(b) (6) and 552(b) (7) (C).
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A.R. 179
 

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6. Donated Items

 

RIB Tracking Number: HO01974 Exhibit ID: A

| certify that | received the following item(s) for use by my organization from the USDA Employe [ill
(Houston, TX - RIB).

items List:

Quantity | Description

1 20 OZ. bottle of soda

1 3 3/8 OZ. bag of Cheetos Puffs Cheese Flavored Snacks
1 1.74 OZ. bag of M & M's Chocolate Candies

Donation Date: 02/28/2018 Donated By EE oust. TX - RIB)

Donation Organization: FamilyTime Crisis & Counseling Center

 

 

 

 

 

 

 

 

Donatj

 
   

Name
Title: Receiver

Organization Site Address and Phone
Address:

1203 S. Houston Ave

Humble, Texas 77338

Phone: (281) 446-2615

The property item(s) donated as certified in Section 6 have been found to have no commercial value or the estimated
cost of continued care and handling would exceed the estimated proceeds from the sale.

Receiver's Signature:

 

Investigator Signature:

   

A.R. 180
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6. Donated Items

 

RIB Tracking Number: HO01974 Exhibit ID: B

| certify that | received the following item(s) for use by my organization from the USDA — |
(Houston, TX - RIB).

items List:

Quantity | Description

1 4 1/2 OZ. bag of Chester's Puffcorn Cheese Flavored Snacks
1 2 liter bottle of soda

Donation Date: 03/08/2018 Donated By RE ...:-. TX - RIB)

Donation Organization: FamilyTime Crisis & Counseling Center

None ll a
Name

Title: Receiver

 

 

 

 

 

 

 

Organization Site Address and Phone
Address:

1203 S. Houston Ave

Humble, Texas 77338

Phone: (281) 446-2615

The property item(s) donated as certified in Section 6 have been found to have no commercial value or the estimated
cost of continued care and handling would exceed the estimated proceeds from the sale.

rs Signature:

  

Investigator Signature:

 

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6. Donated Items

 

RIB Tracking Number: HO01974 Exhibit ID: C

| certify that | received the following item(s) for use by my organization from the USDA employeq in
(Houston, TX - RIB).

Items List:

Quantity | Description

1 20 OZ. bottle of soda

4 13 OZ. pack of Nabisco Chips Ahoy Cookies

 

 

 

 

 

 

 

Donation Date: 03/19/2018 Donated By MEE Houston, TX - RIB)

Donation Organization: FamilyTime Crisis & Counseling Center
Donat

Name;

Title: Receiver

Organization Site Address and Phone

Address:

1203 S. Houston Ave

Humble, Texas 77338

Phone: (281) 446-2615

The property item(s) donated as certified in Section 6 have been found to have no commercial value or the estimated
cost of continued care and handling would exceed the estimated proceeds from the sale.

re:

  

Investigator Signature:

 

A.R. 182
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Sensitive but Unclassified (SBU) Information

 

 

 

 

 

 

USDA - FNS
REPORT OF NEGATIVE INVESTIGATION
STORE NAME AND ADDRESS CASE IDENTIFICATION NUMBER DATE
ZS FOOD MART NA00266 12/11/2019
3719 LOCKWOOD AREA OFFICE
HOUSTON, TX 77026 National CR AO
A. During the subject investigation 0 Confidential Informant(s) 1 Investigator(s) made a

totalof 3  visit(s) to the subject store. During these transactions, attempts made to purchase
ineligible items were refused, and no other program violations occurred.

 

 

 

 

 

 

 

 

 

 

 

 

Number of Surveillance Visit(s) 0 Number of Client Interview(s) 0

Exhibit ID |Pass Result |Refusal Date |Ci/Investigator | Refusals Description of Clerk

A F 11/13/2019 | Investigator F, 24-29 yrs, 5'6"-5'9", 130-140 Ibs, Black hair
color, None

B N 11/14/2019 _| Investigator Box of spoons, Bag of bowls F, 32-37 yrs, 5'8"-5'11", 152-162 Ibs, Blonde hair
color, None

Cc N 11/16/2019 __| Investigator Box of sandwich bags, Box of F, 32-37 yrs, 5'8"-5'11", 152-162 Ibs, Blonde hair

garbage bags, Cash color, Clerk same as Exhibit B
B. REMARKS

C. In the absence of indications that the subject store violates program regulations the investigation
was terminated and the case is closed.

CERTIFICATION:

This report consists of 3 exhibit(s) letter(s) A to C totaling 7 page(s). The facts stated in this declaration are true to
my knowledge. If | am called to testify as a witness in any proceeding, | am competent to testify to the matters
stated herein. Further declarant sayeth not. | declare under penalty of perjury the foregoing is true and correct.

 

SIGNATURE OF INVESTIGATOR

 

 

“Redacted - MATERIAL DELETED PURSUANT TO 5 U.S.C SECTION 552(b) (6) and 552(b) (7) (C).
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US DEPARTMENT OF AGRICULTURE - FOOD AND NUTRITION SERVICE

 

 

 

INVESTIGATIVE TRANSACTION REPORT

 

NA00266
11/13/2019

 

EXHIBIT A
RESULT: F

 

 

 

DETAILS OF TRANSACTION/VISIT :

Deer Investigator, Contractor for the Food and Nutrition Service, United States Department of
Agriculture, make the following statement freely and voluntarily, knowing that this statement may be used in

evidence.

On the above date, at about (time) 02:09 PM. | entered subject store. As the clerk rang up the items, my issued
Electronic Benefits Transfer (EBT) card was where it could be viewed by the clerk. | gave the clerk the EBT card,
which had a total of $400.00 in Supplemental Nutrition Assistance Program (SNAP) benefits. The clerk deducted

$10.16 for items purchased from the investigative EBT account. | departed the store at about 02:17 PM.

| entered the subject store, placed all items on the counter, and presented the EBT card to the clerk for purchase.

The clerk, identified as completed the transaction.

“Redacted - MATERIAL DELETED PURSUANT TO 5 U.S.C SECTION 552(b) (6) and 552(b) (7) (C).

FORM FNS-413 (PAGE 2 OF 7) - (7-98) PREVIOUS EDITIONS OBSOLETE.

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US DEPARTMENT OF AGRICULTURE - FOOD AND NUTRITION SERVICE

 

 

 

 

 

 

 

 

 

NA00266 EXHIBIT A
INVESTIGATIVE TRANSACTION REPORT 11/13/2019 RESULT: F
CLERK INFORMATION
SEX | AGE HEIGHT WEIGHT | HAIR OTHER IDENTIFIERS
F 24-29 5'6"-5'9" | 130-140 | Black None

 

 

 

 

 

 

Clarissa

 

Identification During Transaction as: (Name)

 

Unknown

(Title, Relationship to Owner):

 

Means of Identification:
Self-identified

 

EBT BENEFITS ISSUED, USED AND RETURNED:

 

    

EBT Card Number

Issued Value

Used Value

Returned Value

 

$400.00

$10.16

$389.84

 

 

 

 

 

 

[EBT RECEIPT: Y |CASHREGISTERRECEIPT:N | SALES TAXCHARGED: N/A | AMOUNT CHARGED: N/A

 

 

AMOUNT OF PURCHASE [if known]

BENEFITS TRAFFICKED [if applicable]

CASH RECEIVED [if applicable]

 

$10.16

 

N/A

 

MERCHANDISE RECEIVED [if applicable]:

N/A

 

 

 

 

 

 

 

 

QUANTITY DESCRIPTION OF ITEM TYPE PRICE
1 Bag of cinnamon roll E 1.09
1 Can of spam E 3.99
1 Bag of candy E NPI
1 Bag of chips E NPI

 

 

NPI - NO PRICE INDICATED OR ILLEGIBLE

TYPE:

E - ELIGIBLE, | - INELIGIBLE, M - MAJOR INELIGIBLE, R - REFUSAL, C - CREDIT, F - FREE / NO CHARGE

 

 

TRAFFICKING CASH DATA [if applicable]:

 

*Redacted - MATERIAL DELETED PURSUANT TO 5 U.S.C SECTION 552(b) (6) and 552(b) (7) (C).
FORM FNS-413 (PAGE 3 OF 7) - (7-98) PREVIOUS EDITIONS OBSOLETE.

A.R. 189

 

 
 

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US DEPARTMENT OF AGRICULTURE - FOOD AND NUTRITION SERVICE

 

 

NA00266 EXHIBIT B
| INVESTIGATIVE TRANSACTION REPORT 41/14/2019 RESULT: N

 

 

 

 

DETAILS OF TRANSACTION/VISIT :

, Investigator, Contractor for the Food and Nutrition Service, United States Department of

Agriculture, make the following statement freely and voluntarily, knowing that this statement may be used in
evidence.

On the above date, at about (time) 03:25 PM. | entered subject store. As the clerk rang up the items, my issued
Electronic Benefits Transfer (EBT) card was where it could be viewed by the clerk. | gave the clerk the EBT card,
which had a total of $354.46 in Supplemental Nutrition Assistance Program (SNAP) benefits. The clerk deducted
$10.18 for items purchased from the investigative EBT account. | departed the store at about 3:32 PM.

| entered the subject store, placed all items on the counter, and presented the EBT card to the clerk for purchase.
The clerk removed the non-food items and stated that they could not be purchased using SNAP benefits. | asked
the clerk to utilize the EBT card for the non-food items and the clerk refused. The clerk then completed the
transaction for the food items only.

“Redacted - MATERIAL DELETED PURSUANT TO 5 U.S.C SECTION 552(b) (6) and 552(b) (7) (C).
FORM FNS-413 (PAGE 4 OF 7) - (7-98) PREVIOUS EDITIONS OBSOLETE.

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US DEPARTMENT OF AGRICULTURE - FOOD AND NUTRITION SERVICE

 

 

 

INVESTIGATIVE TRANSACTION REPORT

NA00266
11/14/2019

 

 

EXHIBIT B
RESULT: N

 

 

 

CLERK INFORMATION

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SEX | AGE HEIGHT WEIGHT | HAIR OTHER IDENTIFIERS

F 32-37 5'8"-5'11" | 152-162 | Blonde None

Identification During Transaction as: (Name) {Title, Relationship to Owner): Means of Identification:

Unknown Unknown None

EBT BENEFITS ISSUED, USED AND RETURNED:

EBT Card Number issued Value Used Value Returned Value
$354.46 $10.18 $344.28

 

 

 

 

 

 

 

 

[EBT RECEIPT: Y |CASHREGISTER RECEIPT: N | SALES TAXCHARGED: N/A _| AMOUNT CHARGED: N/A

_

 

AMOUNT OF PURCHASE [if known]

BENEFITS TRAFFICKED [if applicable]

CASH RECEIVED [if applicable]

 

$10.18

 

N/A

 

N/A

 

 

MERCHANDISE RECEIVED [if applicable]:

 

 

 

 

 

 

 

 

 

 

 

QUANTITY DESCRIPTION OF ITEM TYPE PRICE
2 Boxes of cereal (@ $4.59 each) E 9.18
2 Bags of soup E NPI
1 Box of spoons R
1 Bag of bowls R
NPI - NO PRICE INDICATED OR ILLEGIBLE TYPE: E- ELIGIBLE, | - INELIGIBLE, M - MAJOR INELIGIBLE, R - REFUSAL, C - CREDIT, F - FREE / NO CHARGE

 

 

 

TRAFFICKING CASH DATA [if applicable]:

 

*Redacted - MATERIAL DELETED PURSUANT TO 5 U.S.C SECTION 552(b) (6) and 552(b) (7) (C).
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A.R. 191

 
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US DEPARTMENT OF AGRICULTURE - FOOD AND NUTRITION SERVICE

 

 

 

NA00266 EXHIBIT C
INVESTIGATIVE TRANSACTION REPORT 41/16/2019 RESULT: N

 

 

 

 

 

DETAILS OF TRANSACTION/VISIT :

RE estat Contractor for the Food and Nutrition Service, United States Department of
griculture, the following statement freely and voluntarily, knowing that this statement may be used in
evidence.

On the above date, at about (time) 06:12 PM. | entered subject store. As the clerk rang up the items, my issued
Electronic Benefits Transfer (EBT) card was where it could be viewed by the clerk. | gave the clerk the EBT card,
which had a total of $344.28 in Supplemental Nutrition Assistance Program (SNAP) benefits. The clerk deducted
$13.06 for items purchased from the investigative EBT account. | departed the store at about 06:22 PM.

| entered the subject store, placed all items on the counter, and presented the EBT card to the clerk for purchase.
The clerk removed the non-food items and stated that they could not be purchased using SNAP benefits. | asked
the clerk to utilize the EBT card for the non-food items and the clerk refused. The clerk then completed the
transaction for the food items only.| asked the clerk for cash back off my EBT card, but the clerk refused.

“Redacted - MATERIAL DELETED PURSUANT TO 5 U.S.C SECTION 552(b) (6) and 552(b) (7) (C).
FORM FNS-413 (PAGE 6 OF 7) - (7-98) PREVIOUS EDITIONS OBSOLETE.

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US DEPARTMENT OF AGRICULTURE - FOOD AND NUTRITION SERVICE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

NA00266 EXHIBIT C
INVESTIGATIVE TRANSACTION REPORT 14/16/2019 RESULT: N
CLERK INFORMATION
SEX | AGE HEIGHT WEIGHT | HAIR OTHER IDENTIFIERS
F 32-37 5'8"-5'11" | 152-162 | Blonde Clerk same as Exhibit B
| Identification During Transaction as: (Name) (Title, Relationship to Owner): Means of Identification:
Unknown Unknown None

 

 

 

 

EBT BENEFITS ISSUED, USED AND RETURNED:

 

EBT Card Number Issued Value Used Value Returned Value
$344.28 $13.06 $331.22

 

 

 

 

 

 

 

 

EBTRECEIPT:Y |CASHREGISTER RECEIPT: N | SALES TAXCHARGED: N/A | AMOUNT CHARGED: N/A

 

 

 

AMOUNT OF PURCHASE [if known] | BENEFITS TRAFFICKED [if applicable] | CASH RECEIVED [if applicable]
$13.06 N/A N/A

 

 

 

 

 

MERCHANDISE RECEIVED [if applicable]:

 

 

 

 

 

 

 

 

 

 

 

 

 

QUANTITY DESCRIPTION OF ITEM TYPE PRICE
1 Bag of chips E 5.09
1 Bottle of ketchup E 2.99
1 Bottle of barbecue sauce E NPI
1 Package of bread E NPI
1 Box of sandwich bags R
1 Box of garbage bags R
Cash R
NPI - NO PRICE INDICATED OR ILLEGIBLE TYPE: E- ELIGIBLE, |- INELIGIBLE, M- MAJOR INELIGIBLE, R - REFUSAL, C - CREDIT, F -FREE/ NO CHARGE

 

TRAFFICKING CASH DATA [if applicable]:

 

 

 

 

*Redacted - MATERIAL DELETED PURSUANT TO 5 U.S.C SECTION 552(b) (6) and 552(b) (7) (C).
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Sensitive but Unclassified (SBU) Information

 

 

 

 

 

 

USDA - FNS
REPORT OF NEGATIVE INVESTIGATION
STORE NAME AND ADDRESS CASE IDENTIFICATION NUMBER DATE
ZS FOOD MART NA00266 12/11/2019
3719 LOCKWOOD AREA OFFICE
HOUSTON, TX 77026 National CR AO
A. During the subject investigation 0 Confidential Informant(s) 1 Investigator(s) made a

 

totalof 3  visit(s) to the subject store. During these transactions, attempts made to purchase
ineligible items were refused, and no other program violations occurred.

 

 

 

 

 

 

 

 

 

 

 

 

 

Number of Surveillance Visit(s) 0 Number of Client Interview(s) 0

Exhibit ID |Pass Result |Refusal Date |Ci/Investigator |Refusals Description of Clerk

A F 11/13/2019 Investigator F, 24-29 yrs, 5'6"-5'9", 130-140 Ibs, Black hair
color, None

B N 11/14/2019 | Investigator Box of spoons, Bag of bowls F, 32-37 yrs, 5'8"-5'11", 152-162 Ibs, Blonde hair
color, None

Cc N 11/16/2019 | Investigator Box of sandwich bags, Box of F, 32-37 yrs, 5'8"-5'11", 152-162 Ibs, Blonde hair

garbage bags, Cash color, Clerk same as Exhibit B
B. REMARKS

C. In the absence of indications that the subject store violates program regulations the investigation
was terminated and the case is closed.

CERTIFICATION:

This report consists of 3 exhibit(s) letter(s) A to C totaling 7 page(s). The facts stated in this declaration are true to
my knowledge. If | am called to testify as a witness in any proceeding, | am competent to testify to the matters
stated herein. Further declarant sayeth not. | declare under penalty of perjury the foregoing is true and correct.

 

SIGNATURE OF INVESTIGATOR

 

 

“Redacted - MATERIAL DELETED PURSUANT TO 5 U.S.C SECTION 552(b) (6) and 552(b) (7) (C).
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A.R. 194
 

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US DEPARTMENT OF AGRICULTURE - FOOD AND NUTRITION SERVICE

 

 

NA00266 EXHIBIT A
INVESTIGATIVE TRANSACTION REPORT 44/13/2019 RESULT: F

 

 

 

 

 

DETAILS OF TRANSACTION/VISIT :

1 Investigator, Contractor for the Food and Nutrition Service, United States Department of
Agriculture, make the following statement freely and voluntarily, knowing that this statement may be used in
evidence.

On the above date, at about (time) 02:09 PM. | entered subject store. As the clerk rang up the items, my issued
Electronic Benefits Transfer (EBT) card was where it could be viewed by the clerk. | gave the clerk the EBT card,
which had a total of $400.00 in Supplemental Nutrition Assistance Program (SNAP) benefits. The clerk deducted
$10.16 for items purchased from the investigative EBT account. | departed the store at about 02:17 PM.

| entered the subject s d all items on the counter, and presented the EBT card to the clerk for purchase.
The clerk, identified a completed the transaction.

*Redacted - MATERIAL DELETED PURSUANT TO 5 U.S.C SECTION 552(b) (6) and 552(b) (7) (C).
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US DEPARTMENT OF AGRICULTURE - FOOD AND NUTRITION SERVICE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

NAO00266 EXHIBIT A
INVESTIGATIVE TRANSACTION REPORT 11/13/2019 RESULT: F
CLERK |
SEX | AGE HEIGHT WEIGHT | HAIR OTHER IDENTIFIERS
F 24-29 5'6"-5'9" | 130-140 | Black None
Identification During Transaction as: (Name) (Title, Relationship to Owner): Means of Identification:
Clarissa Unknown Self-identified
EBT BENEFITS ISSUED, USED AND RETURNED:
EBT Card Number Issued Value Used Value Returned Value
$400.00 $10.16 $389.84

 

 

 

 

 

 

 

[EBT RECEIPT: Y | CASHREGISTER RECEIPT: N |SALESTAXCHARGED: N/A |[AMOUNTCHARGED:N/A |

 

AMOUNT OF PURCHASE [if known]

BENEFITS TRAFFICKED [if applicable]

CASH RECEIVED [if applicable]

 

$10.16

 

N/A

 

N/A

 

 

MERCHANDISE RECEIVED [if applicable]:

 

 

 

 

 

 

 

 

 

 

 

QUANTITY DESCRIPTION OF ITEM TYPE PRICE
1 Bag of cinnamon roll E 1.09
1 Can of spam E 3.99
1 Bag of candy E NPI
1 Bag of chips E NPI
NPI - NO PRICE INDICATED OR ILLEGIBLE TYPE: €- ELIGIBLE, | - INELIGIBLE, M- MAJOR INELIGIBLE, R - REFUSAL, C - CREDIT, F - FREE / NO CHARGE

 

TRAFFICKING CASH DATA [if applicable]:

 

 

*Redacted - MATERIAL DELETED PURSUANT TO 5 U.S.C SECTION 552(b) (6) and 552(b) (7) (C).
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US DEPARTMENT OF AGRICULTURE - FOOD AND NUTRITION SERVICE

 

 

 

NA00266 EXHIBIT B
INVESTIGATIVE TRANSACTION REPORT 41/14/2019 RESULT: N

 

 

 

 

 

 

DETAILS OF TRANSACTION/VISIT :

1 Investigator, Contractor for the Food and Nutrition Service, United States Department of
Agriculture, make the following statement freely and voluntarily, knowing that this statement may be used in
evidence.

On the above date, at about (time) 03:25 PM. | entered subject store. As the clerk rang up the items, my issued
Electronic Benefits Transfer (EBT) card was where it could be viewed by the clerk. | gave the clerk the EBT card,
which had a total of $354.46 in Supplemental Nutrition Assistance Program (SNAP) benefits. The clerk deducted
$10.18 for items purchased from the investigative EBT account. | departed the store at about 3:32 PM.

| entered the subject store, placed all items on the counter, and presented the EBT card to the clerk for purchase.
The clerk removed the non-food items and stated that they could not be purchased using SNAP benefits. | asked
the clerk to utilize the EBT card for the non-food items and the clerk refused. The clerk then completed the
transaction for the food items only.

“Redacted - MATERIAL DELETED PURSUANT TO 5 U.S.C SECTION 552(b) (6) and 552(b) (7) (C).
FORM FNS-413 (PAGE 4 OF 7) - (7-98) PREVIOUS EDITIONS OBSOLETE.

A.R. 197

 
 

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US DEPARTMENT OF AGRICULTURE - FOOD AND NUTRITION SERVICE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

NAO0266 EXHIBIT B
INVESTIGATIVE TRANSACTION REPORT 44/14/2019 RESULT: N
CLERK INFORMATION
SEX | AGE HEIGHT WEIGHT | HAIR OTHER IDENTIFIERS
F 32-37 5'8"-5'11" | 152-162 | Blonde None
Identification During Transaction as: (Name) (Title, Relationship to Owner): Means of Identification:
Unknown Unknown None ;

 

 

 

 

EBT BENEFITS ISSUED, USED AND RETURNED:

 

EBT Card Number Issued Value Used Value Returned Value
$354.46 $10.18 $344.28

 

 

 

 

 

 

 

 

[EBTRECEIPT:Y |CASHREGISTERRECEIPT:N |SALES TAXCHARGED: N/A _| AMOUNT CHARGED: N/A |

 

 

AMOUNT OF PURCHASE [if known] | BENEFITS TRAFFICKED [if applicable] | CASH RECEIVED [if applicable]
$10.18 N/A N/A

 

 

 

 

 

MERCHANDISE RECEIVED [if applicable]:

 

 

 

 

 

 

 

 

 

 

 

QUANTITY DESCRIPTION OF ITEM TYPE PRICE
2 Boxes of cereal (@ $4.59 each) E 9.18
2 Bags of soup E NPI
1 Box of spoons R
1 Bag of bowls R
NPI - NO PRICE INDICATED OR ILLEGIBLE TYPE: £-ELIGIBLE, | - INELIGIBLE, M- MAJOR INELIGIBLE, R - REFUSAL, C - CREDIT, F - FREE / NO CHARGE

 

TRAFFICKING CASH DATA [if applicable]:

 

 

*Redacted - MATERIAL DELETED PURSUANT TO 5 U.S.C SECTION 552(b) (6) and 552(b) (7) (C).
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US DEPARTMENT OF AGRICULTURE - FOOD AND NUTRITION SERVICE

 

 

 

NAO0266 EXHIBIT C
INVESTIGATIVE TRANSACTION REPORT 41/16/2019 RESULT: N

 

 

 

 

 

DETAILS OF TRANSACTION/VISIT :

|, Miguel Ballejo, Investigator, Contractor for the Food and Nutrition Service, United States Department of
Agriculture, make the following statement freely and voluntarily, knowing that this statement may be used in
evidence.

On the above date, at about (time) 06:12 PM. | entered subject store. As the clerk rang up the items, my issued
Electronic Benefits Transfer (EBT) card was where it could be viewed by the clerk. | gave the clerk the EBT card,
which had a total of $344.28 in Supplemental Nutrition Assistance Program (SNAP) benefits. The clerk deducted
$13.06 for items purchased from the investigative EBT account. | departed the store at about 06:22 PM.

| entered the subject store, placed all items on the counter, and presented the EBT card to the clerk for purchase.
The clerk removed the non-food items and stated that they could not be purchased using SNAP benefits. | asked
the clerk to utilize the EBT card for the non-food items and the clerk refused. The clerk then completed the
transaction for the food items only.| asked the clerk for cash back off my EBT card, but the clerk refused.

“Redacted - MATERIAL DELETED PURSUANT TO 5 U.S.C SECTION 552(b) (6) and 552(b) (7) (C).
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A.R. 199
 

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US DEPARTMENT OF AGRICULTURE - FOOD AND NUTRITION SERVICE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

NAO00266 EXHIBIT C
INVESTIGATIVE TRANSACTION REPORT 41/16/2019 RESULT: N
CLERK INFORMATION
SEX | AGE HEIGHT WEIGHT | HAIR OTHER IDENTIFIERS
F 32-37 5'8"-5'11" | 152-162 | Blonde Clerk same as Exhibit B
Identification During Transaction as: (Name) (Title, Relationship to Owner): Means of Identification:
Unknown Unknown None
EBT BENEFITS ISSUED, USED AND RETURNED:
EBT Card Number Issued Value Used Value Returned Value
$344.28 $13.06 $331.22

 

 

 

 

 

 

 

[EBT RECEIPT: Y | CASHREGISTER RECEIPT: N | SALES TAXCHARGED: N/A__| AMOUNT CHARGED: N/A

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AMOUNT OF PURCHASE [if known] | BENEFITS TRAFFICKED [if applicable] | CASH RECEIVED [if applicable]
$13.06 N/A N/A
MERCHANDISE RECEIVED [if applicable]:

QUANTITY DESCRIPTION OF ITEM TYPE PRICE
1 Bag of chips E 5.09
1 Bottle of ketchup E 2.99
1 Bottle of barbecue sauce E NPI
1 Package of bread E NPI
1 Box of sandwich bags R
1 Box of garbage bags R

Cash R |

NPI - NO PRICE INDICATED OR ILLEGIBLE TYPE: E - ELIGIBLE, | - INELIGIBLE, M - MAJOR INELIGIBLE, R - REFUSAL, C - CREDIT, F - FREE / NO CHARGE

 

TRAFFICKING CASH DATA [if applicable]:

 

 

“Redacted - MATERIAL DELETED PURSUANT TO 5 U.S.C SECTION 552(b) (6) and 552(b) (7) (C).

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A.R. 200
 

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6. Donated Items

 

CR Tracking Number: NA00266 Exhibit ID: A

| certify that | received the following item(s) for use by my organization from the USDA Empioyeqil
(National CR AO).

 

 

 

 

 

 

 

 

 

Items List:

Quantity | Description

1 Bag of cinnamon roll

1 Can of spam

1 Bag of candy

1 Bag of chips
Donation Date: 11/21/2019 Donated py TE (ationa CR AO)

Donation Organization: Trinity Klein Church

Donati i
Name
Title: GO Assistant Director

Organization Site Address and Phone
Address:

5201 Spring Cypress

Spring, Texas 77379

Phone: (281) 376-5773

The property item(s) donated as certified in Section 6 have been found to have no commercial value or the estimated
cost of continued care and handling would exceed the estimated proceeds from the sale.

Receiver's Signature:

Investigator Signature:

A.R. 201
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6. Donated Items

 

CR Tracking Number: NA00266 Exhibit ID: B

| certify that 1 received the following item(s) for use by my organization from the USDA Employee Miguel Ballejo
(National CR AO).

 

 

 

 

 

 

 

items List:

Quantity | Description

2 Boxes of cereal (@ $4.59 each)

2 Bags of soup

Donation Date: 11/21/2019 Donated By EE National CR AO)

Donation Organization: Trinity Klein Church
Dona

Name

Title: GO Assistant Director

Organization Site Address and Phone
Address:

5201 Spring Cypress

Spring, Texas 77379

Phone: (281) 376-5773

The property item(s) donated as certified in Section 6 have been found to have no commercial value or the estimated
cost of continued care and handling would exceed the estimated proceeds from the sale.

Receiver's Signature:

Investigator Signature:

A.R. 202
 

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6. Donated Items

 

CR Tracking Number: NA0Q0266 Exhibit ID: C

| certify that | received the following item(s) for use by my organization from the USDA employee i
(National CR AO).

 

 

 

 

 

items List:

Quantity | Description

1 Bag of chips

1 Bottle of ketchup

1 Bottle of barbecue sauce
1 Package of bread

 

 

 

 

Donation Date: 11/21/2019 Donated oy EE 2:02 CR AO)

Donation Organization: Trinity Klein Church

Dona’ j
Name
Title: sistant Director

Organization Site Address and Phone
Address:

5201 Spring Cypress

Spring, Texas 77379

Phone: (281) 376-5773

The property item(s) donated as certified in Section 6 have been found to have no commercial value or the estimated
cost of continued care and handling would exceed the estimated proceeds from the sale.

Receiver's Signature:

Investigator Signature:

A.R. 203
 

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6. Donated Items

 

CR Tracking Number: NA00266 Exhibit ID: A

| certify that | received the following item(s) for use by my organization from the USDA Employed
(National CR AO).

 

 

 

 

 

 

 

 

 

Items List:

Quantity | Description

1 Bag of cinnamon roll

1 Can of spam

4 Bag of candy

1 Bag of chips
Donation Date: 11/21/2019 Donated By EE ational CR AO)

Donation Organization: Trinity Klein Church
Donation Receiver

a

Title: GO Assistant Director

Organization Site Address and Phone
Address:

5201 Spring Cypress

Spring, Texas 77379

Phone: (281) 376-5773

The property item(s) donated as certified in Section 6 have been found to have no commercial value or the estimated
cost of continued care and handling would exceed the estimated proceeds from the sale.

Receiver's Signature:

Investigator Signature:

A.R. 204
 

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6. Donated Items

 

CR Tracking Number: NA00266 Exhibit ID: B

| certify that | received the following item(s) for use by my organization from the USDA Employed
(National CR AO).

 

 

 

 

 

 

 

Items List:

Quantity | Description

2 Boxes of cereal (@ $4.59 each)

2 Bags of soup

Donation Date: 11/21/2019 Donated By: Miguel Ballejo (National CR AO)

Donation Organization: Trinity Klein Church
Narn ll

Name

Title: GO Assistant Director

Organization Site Address and Phone
Address:

5201 Spring Cypress

Spring, Texas 77379

Phone: (281) 376-5773

The property item(s) donated as certified in Section 6 have been found to have no commercial value or the estimated
cost of continued care and handling would exceed the estimated proceeds from the sale.

Receiver's Signature:

  

Investigator Signature:

A.R. 205
Case 4:20-cv-03411 Document 14-8 Filed on 11/30/21 in TXSD Page 34 of 34

6. Donated Items

 

CR Tracking Number: NA00266 Exhibit ID: C

| certify that | received the following item(s) for use by my organization from the USDA Employee Miguel Ballejo
(National CR AO).

 

 

 

 

 

Items List:
Quantity | Description
1 Bag of chips
1 Bottle of ketchup
1 Bottle of barbecue sauce
1 Package of bread

 

 

 

 

Donation Date: 11/21/2019 Donated BEE \2tiona CR AO)

Donation Organization: Trinity Klein Church

Dona
Name
Title: GO Assistant Director

Organization Site Address and Phone
Address:

5201 Spring Cypress

Spring, Texas 77379

Phone: (281) 376-5773

The property item(s) donated as certified in Section 6 have been found to have no commercial value or the estimated
cost of continued care and handling would exceed the estimated proceeds from the sale.

ignature:

 

investigator Signature:

A.R. 206
